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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,              No. CR 8:21-00187-JVS

13             Plaintiff,                   GOVERNMENT’S OPPOSITION TO
                                            DEFENDANT JOHN ABEL BACA’S
14                   v.                     APPLICATION FOR REVIEW OF ORDER
                                            SETTING CONDITIONS OF RELEASE
15   JOHN ABEL BACA,                        PURSUANT TO 18 U.S.C. § 3142

16             Defendant.                   Hearing Date: N/A
                                            Hearing Time: N/A
17                                          Location:     Courtroom of the Hon.
                                                          Rozella A. Oliver
18
19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorney Cassie D. Palmer,
23   hereby files its Opposition to Defendant John Abel Baca’s Application
24   for Review of Order Setting Conditions of Release Pursuant to 18
25   U.S.C. § 3142 (Dkt. 59-1).
26   //
27   //
28
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1         This opposition is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4    Dated: January 13, 2023              Respectfully submitted,

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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          Defendant John Abel Baca has filed an Application for Review of

4    Order Setting Conditions of Release Pursuant to 18 U.S.C. § 3142

5    (“Application”). (Dkt. 59-1.)       At his first detention hearing,

6    defendant was detained pending trial, because the Court concluded

7    that no condition or combination of conditions would reasonably

8    assure his appearance as required or the safety of any person or the

9    community.    (Dkt. 14.)   Defendant later submitted an application for

10   reconsideration, which included a substantial cash and property bond.

11   (Dkt. 26.)    At the hearing on that application, the Court granted

12   defendant’s release based upon strict conditions, including an

13   appearance bond of $1,100,000 with justification and a cash deposit

14   of $250,000; a travel restriction to the Central District of

15   California; GPS location monitoring; and home incarceration.            (Dkt.

16   37 at 1-3.)    By this Application, Baca seeks to exonerate the cash

17   portion of his bond ($250,000) and remove the conditions of location

18   monitoring, restriction on travel, and house arrest.           (Id.)
19         The Court should deny defendant’s Application.          The concerns

20   that motivated the Court to detain defendant in the first instance

21   and, later, to impose a substantial bond and strict conditions of

22   release remain.    The combination of extensive conditions the Court

23   imposed are necessary to mitigate the risk of nonappearance and

24   serious concerns of danger that defendant poses.

25   II.   FACTUAL BACKGROUND

26         A.   Factual Background Relating to Charges
27         In February 2021, a witness made an alarming allegation that

28   defendant John Abel Baca -- an active, experienced Inglewood Police
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1    Department (“IPD”) officer who was a member of IPD’s drug task force

2    -- had offered to sell the witness a kilogram of cocaine and two

3    kilograms of “China White” heroin.          (Palmer Decl., Ex. A. (Under

4    Seal) ¶¶ 16.a, b, 17.c.)      Baca also claimed to have access to an

5    “unlimited” amount of black tar heroin. (Id. ¶ 16.c, 17.c.)

6    According to witness, defendant Baca said he and “his team” would use

7    confidential informants to identify potential drug transports and

8    then would conduct routine traffic stops to steal drugs and large

9    sums of cash.    (Id. ¶¶ 16.b, c, 17.d, e.)        They would divide the cash

10   among the team and sell the drugs for profit.          (Id.)   Defendant Baca

11   said he had many informants as a result of his time at IPD and would

12   give the informants a 20% cut of the proceeds to report narcotics and

13   large amounts of cash to him.       (Id. ¶ 17.e.)

14        The FBI directed the witness to purchase cocaine from defendant

15   Baca.   Baca communicated with the witness on his personal telephone

16   to set up the deal.     (See CR 21-00575-JVS, Dkt. 1 (“Ekonomo

17   Complaint”) ¶¶ 14-18.)     On April 29, 2021, defendant Baca provided a

18   sample of cocaine (1.054 grams) to the witness during an audio- and
19   video-recorded meeting.      (Id. ¶¶ 20-27.)      This transaction is charged

20   in Count One of the indictment, violation of 21 U.S.C. §§ 841(a)(1),

21   (b)(1)(C).   After further communications, on May 4, 2021, defendant

22   provided one kilogram of cocaine to the witness during an audio-

23   recorded meeting in exchange for $22,000 in cash.          (Id. ¶¶ 28-39.)

24   This transaction is charged in Count Two of the indictment, violation

25   of 21 U.S.C. §§ 841(a)(1), (b)(1)(B)(ii), which carries a five-year

26   mandatory minimum term.
27

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1         B.    Subsequent Investigation and Criminal Charges Against One
                of Baca’s IPD Informants
2
          After defendant’s arrest, the government has continued its
3
     investigation and charged an additional defendant, Gerardo Ekonomo,
4
     Case No. SA CR 21-00575-JVS.       Ekonomo was one of defendant Baca’s
5
     informants at IPD.     (Ekonomo Complaint ¶ 9.)      However, based upon
6
     IPD’s official records, Ekonomo had no documented operations after
7
     defendant Baca signed him up as an informant.          (Id.)
8
          In June 2021, Ekonomo traveled from Los Angeles to Las Vegas,
9
     where he was pulled over by the Las Vegas Police Department for a
10
     traffic violation.     (Id. ¶ 41.a.)    Ekonomo was driving.      (Id.)    In
11
     the car, police found three kilograms of heroin, which Ekonomo
12
     confirmed belonged to him.      (Id. ¶¶ 41.b, c, f.)      After Ekonomo’s
13
     arrest, defendant Baca attempted to intervene on Ekonomo’s behalf,
14
     including by telling the Las Vegas Police Department that Ekonomo was
15
     his informant (and identifying himself as Ekonomo’s “handler”) and
16
     suggesting that Ekonomo would “work off” the Las Vegas case.              (Id. ¶¶
17
     42-45.)   In fact, as noted above, Ekonomo was not conducting a law
18
     enforcement investigation for IPD.
19
          Based upon Ekonomo’s conduct, the government charged him with
20
     possession with intent to distribute approximately 3,260 grams of
21
     heroin (Count One, a ten-year mandatory minimum).          (CR 2:21-cr-00575-
22
     JVS, Dkt. 24 (“Ekonomo Indictment”).)
23
          On October 28, 2021, the FBI executed a search warrant at
24
     Ekonomo’s residence.     (Id. ¶ 59.)    Buried in the yard of his
25
     residence, law enforcement found large quantities of drugs wrapped in
26
     black plastic, including 1,258 grams of fentanyl (Count Two, which
27
     carries a ten-year mandatory minimum) and approximately 462 grams of
28

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1    heroin (Count Three, which carries a five-year mandatory minimum).

2    (Ekonomo Complaint ¶¶ 59.a-c & Ekonomo Indictment.)           The FBI also

3    found indicia of drug trafficking at the residence, including heat-

4    seal bags, an industrial roll of black plastic wrap (similar to the

5    black plastic the drugs found in the backyard were wrapped in), and

6    firearms and ammunition.      (Ekonomo Complaint ¶¶ 59.c, d.)        In a

7    subsequent interview, Ekonomo claimed that he worked as an informant

8    for defendant Baca and received authorization from Baca to transport

9    the drugs to Las Vegas, purportedly as part of a law enforcement

10   operation.   (Id. ¶ 59.e.)     Ekonomo said that defendant Baca assured

11   him after his arrest that Baca would take care of the Las Vegas case.

12   (Id.)   At that time, Ekonomo claimed ignorance of the drugs in his

13   yard.   (Id. ¶ 59.f.)

14        C.    Baca’s Substantial Financial Resources

15        In 2019, defendant Baca’s salary from the Inglewood Police

16   Department was around $168,000.       (Ex. A ¶ 20.f.)     According to the

17   information defendant Baca provided Pretrial Services, his wife was

18   employed as a teacher and earned approximately $90,000 annually.               An
19   analysis of defendant Baca’s bank accounts revealed a large amount of

20   money traveling through his bank accounts during the relevant period

21   (from January 1, 2018 to March 31, 2021).         That amount of money

22   greatly outstripped his legitimate income.         (Ex. A ¶ 20.g.)      For

23   example, during the relevant period, defendant Baca’s checking

24   account at the Credit Union of Southern California had approximately

25   $2.04 million in deposits and transfers into the account and $2.05

26   million in withdrawals and transfers out of the account, resulting in
27   an ending balance of $38,137.60 as of March 31, 2021.           (Id.)   His

28   savings account at the Credit Union of Southern California Bank had

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1    approximately $1.76 million in deposits and transfers into the

2    account and $1.68 million in withdrawals and transfers out of the

3    account, resulting in an ending balance of $100,009.68 as of March

4    31, 2021.   (Id.)   In addition, defendant Baca transferred

5    approximately $64,000 in three separate transactions from a

6    cryptocurrency Coinbase account to his Credit Union bank account and

7    transferred approximately $72,000 in 19 separate transactions from

8    his Credit Union bank account to a cryptocurrency Coinbase account.

9    (Id.)

10        Defendant told a cooperating witness that he always had large

11   amounts of cash.    (Ex. A. ¶ 17.g.)         He said he frequently traveled to

12   Las Vegas casinos to gamble, in an effort to launder money

13   inconspicuously.    (Id.)    At that time, defendant said he was not

14   afraid of being caught because he told people at the bank that he

15   enjoyed gambling, so he did not believe there would be any suspicious

16   activity reports generated.      (Id.)

17        Defendant’s financial records corroborate this: they reveal

18   frequent trips to and large transactions at Las Vegas casinos and
19   large cash deposits and withdrawals.           (Id. ¶¶ 20.h & i.)   For

20   example, on September 28, 2019, defendant Baca purchased $40,000 in

21   casino chips in Las Vegas.      (Id.)    The same day, defendant Baca

22   purchased another $30,600 in casino chips and subsequently cashed out

23   $42,500 at another casino in Las Vegas.           (Id.)   Defendant Baca’s

24   financial records reflect numerous large cash deposits and

25   withdrawals, which are not accounted for by his legitimate income.

26   (Id. 20.i.)    As just a few examples: on October 17, 2019, defendant
27   Baca withdrew $15,000 in cash from the Credit Union of Southern

28   California; on October 21, 2019, he deposited $20,000 in cash at the

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1    same bank; and on January 15, 2021, he withdrew $40,000 in cash from

2    the same bank.    (Id.)   In total, defendant deposited approximately

3    $41,000 in cash into the Credit Union checking account and

4    approximately $177,000 in cash into the Credit Union savings account

5    during the relevant period.      (Id.)

6             At the time of his arrest, defendant Baca reported $300,000 in

7    bank accounts, around the same amount in investment accounts, as well

8    as significant non-liquid assets, including properties and vehicles.

9    Specifically, he had significant equity in several properties,

10   including his primary residence in California (approximately $291,539

11   in equity, of which he put up $245,000 to satisfy his bond

12   conditions); in a residence he owns with his mother in California

13   (approximately $340,123 in equity, of which he put up $180,000 to

14   satisfy his bond conditions); and a residence he owns (outright) in

15   Arizona (worth approximately $425,000, of which he put up $425,000 to

16   satisfy his bond conditions).       He also owns three vehicles outright,

17   including a 2018 Audi Q7, a 2001 Chevy pickup truck, and a 2012

18   Ferrari FF.    (See Pretrial Services Report.)
19        D.     Procedural History Relating to Detention & Bond

20        Defendant was arraigned on October 22, 2021.          He was ordered

21   detained based upon the Court’s finding that no condition or

22   combination of conditions would reasonably assure the appearance of

23   the defendant as required and the safety of any person or the

24   community.1    (Dkt. No. 14 at 2.)     In making that determination, the

25

26
          1 Defendant incorrectly states that “[i]t look Baca five months
27   to arrange his release on bail.” Dkt. 59-1 at 1. In fact, Baca was
     ordered detained pending trial. Nearly four months later, he moved
28   for reconsideration, which the Court granted. He was released after
     perfecting his bond.
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1    Court considered the nature and circumstances of the offenses

2    charged, the weight of the evidence against the defendant, the

3    history and characteristics of the defendant, and the nature and

4    seriousness of the danger to any person or the community, pursuant to

5    18 U.S.C. § 3142(g).      In detaining defendant, the Court based its

6    conclusions on the following: (1) “As to the risk of non-appearance:

7    substantial assets available to defendant/inadequate bail proffer;

8    international connections and history of international travel;

9    sophisticated means regarding ability to flee”; and (2) “as to danger

10   and the community: instant allegations; government proffer regarding

11   fear of CI(s) and CW(s).”       (Id. at 3.)

12         On February 1, 2022, defendant filed an Application for

13   Review/Reconsideration of the Court’s Order of Detention, which

14   included a proposed substantial cash and property bond.            (Dkt. 26.)

15   At the hearing on February 16, 2022, the Court ordered defendant Baca

16   to be released based upon extensive conditions, including an

17   appearance bond of $1,100,000 with justification and a cash deposit

18   of $250,000; a travel restriction to the Central District of
19   California; a bar on all contact, directly or indirectly, with any

20   person who is a known witness of in the investigation; location

21   monitoring; and home incarceration.         (Dkt. 37 at 1-3.)     In addition,

22   the Court ordered defendant to have no contact with Ekonomo or any

23   known witnesses from that related case, and that he was not permitted

24   to “have someone else contact them on your behalf.”           (Id. at 4.)

25         E.   Instant Application

26         On December 28, 2022, defendant Baca filed the instant
27   Application for Review of Order Setting Conditions of Release

28   Pursuant to 18 U.S.C. § 3142.       (Dkt. 59-1.)     By this Application,

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1    Baca seeks to modify his bond in several respects.           First, he seeks

2    to exonerate the cash portion of his bond, that is, $250,000.

3    (Application at 1.)     Second, he seeks to “reform” his terms of

4    release “to better accommodate his rehabilitation and the needs of

5    his family and community.”       (Id.)   These “reforms” include removal of

6    his location monitoring bracelet, removal of travel restrictions, and

7    release from house arrest.       (Id.)

8    III. ARGUMENT

9          The Court should deny defendant’s Application.          As a preliminary

10   matter, the government is entitled to a rebuttable presumption that

11   no condition or combination of conditions will reasonably assure the

12   defendant’s appearance as required and the safety of any person or

13   the community.     18 U.S.C. § 3142(e)(2).      While the government argued

14   that defendant failed to rebut this presumption, the Court found that

15   defendant was able to rebut that presumption during his second

16   detention hearing because of the combination of conditions that

17   included the significant cash and property bond and the strict

18   conditions of release he now seeks to remove.          The concerns that
19   motivated the Court to detain defendant in the first instance and,

20   later, to impose a substantial bond and strict conditions of release

21   remain.

22         First, the nature and circumstances of the offense and strength

23   of the evidence support the current cash bond, location monitoring,

24   travel restriction, and home incarceration.          That defendant abused

25   his law enforcement status to steal and then sell drugs is

26   concerning.    That he recruited at least one person to assist in his
27   lawless operation under the guise of enrolling him as an IPD

28   confidential informant and then interceded with law enforcement when

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1    he was caught (again using and abusing his law enforcement status),

2    is deeply troubling.      The evidence against defendant for the charges

3    in the Indictment is overwhelming and consists not only of witness

4    statements but also substantial objective evidence like incepted

5    calls, recordings of the charged deals, and toll records.

6          Defendant claims his bond should be modified because he does not

7    pose a risk of flight.      But his argument ignores key facts that

8    warrant the conditions imposed and remain compelling.            First,

9    defendant has a history of international connections and travel,2 and

10   given his background as a law enforcement officer, possesses a deep

11   knowledge of law enforcement methods that could allow him to

12   successfully evade detection.       Second, defendant has substantial

13   assets, many of which remain unaccounted for.          The government

14   presented the financial analysis evidence outlined above at

15   defendant’s two previous detention hearings, including millions of

16   dollars moving through his accounts (despite his legitimate household

17   income dwarfing those sums), large cash deposits and withdrawals into

18   and out of his accounts, his use of cryptocurrency, and his
19   statements to a witness that he had large amounts of cash and

20   laundered money through Las Vegas.        In neither detention hearing nor

21   in the Application has defendant offered any explanation of the cash

22   withdrawals and deposits, the substantial funds that moved through

23   his accounts, or where those funds ended up.          The government

24   recovered only a small amount of cash at his residence, and the cash

25   that the cooperating witness paid defendant for the cocaine also

26
27         2Defendant claims to have “no ties outside the United States”
     but his wife has immediate and extended family in Mexico, and
28   defendant admitted to traveling outside the United States on around
     10 occasions, including visiting his wife’s family member in Mexico.
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1    remains unaccounted for.      Even ignoring the vast amounts of

2    unaccounted-for funds, defendant’s claimed assets are significant

3    and, absent a bond, could facilitate his flight.

4          In consideration of these facts, the Court has imposed the

5    significant cash and property bond here, which appropriately ties up

6    a significant portion of defendant’s known assets and accordingly

7    mitigates the serious risk of nonappearance he otherwise poses.

8    Defendant’s speculative and vague claims of mounting expenses (his

9    counsel makes high-level claims and arguments, without any support,

10   citation to records, or actual expenses) are simply insufficient to

11   justify a modification here, especially because exonerating the cash

12   portion of his bond would provide defendant access to funds that

13   could aid his flight.

14         As to danger, the allegations (not only in the instant

15   indictment but also in indictment in the related matter and the

16   evidence proffered which underlies both) are very serious and show

17   that defendant is willing and able to operate outside the law.             The

18   Application suggests that defendant’s service as an officer should be
19   credited, which ignores that he used and abused that very position of

20   power and trust to steal and sell drugs and recruit others to

21   participate in his crimes.       Further, the concerns the government has

22   expressed relating to the potential danger defendant poses to

23   witnesses and cooperators are ongoing, if not heightened, as

24   defendant’s trial date approaches.          Providing evidence against an

25   experienced and well-connected police officer is extremely daunting

26   and witnesses continue to express grave concerns for their safety.
27   Defendant’s and his counsel’s claims that he has no history of

28   violence belied by the record: he has a conviction for battery.

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1    (Pretrial Services Report at 4; Application at 3 (“I have no history

2    of violence.”), 8 (“John Baca has no history of violence”).)             While

3    the conviction is old (from 1996), it demonstrates that defendant is

4    capable of resorting to violence.

5          Thus, the extensive conditions of release that the Court has

6    imposed are necessary to mitigate the serious concerns of danger to

7    others.   Exonerating defendant’s cash bond and removing his location

8    monitoring, travel restrictions, and home incarceration would not

9    adequately protect the public or the potential witnesses in this

10   case.   What’s more, although defendant claims location monitoring and

11   home incarceration have hampered his treatment, his Pretrial Services

12   Officer has said (and the Application itself also confirms) that

13   defendant has successfully obtained medical, psychological, and

14   substance-abuse treatment while subject to very conditions he now

15   seeks to remove.     Further, he is permitted to attend church services

16   under his current conditions.

17         Finally, defendant’s desire to obtain residential treatment in

18   Arizona does not justify removal of location monitoring or home
19   incarceration.     While it is laudable that defendant is addressing his

20   substance-abuse and post-traumatic stress disorder issues, he fails

21   to explain why he cannot obtain treatment in the Los Angeles area

22   instead of at a residential facility in Arizona.           According to the

23   Application and defendant’s Pretrial Services Officer, defendant has

24   successfully completed outpatient substance-abuse treatment and

25   psychological therapy and has been maintaining his sobriety.             To the

26   extent defendant would like to avail himself of additional treatment,
27   the government submits, and Pretrial Services has advised, that there

28   are numerous programs in Los Angeles that provide the type of

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1    treatment defendant seeks (that is, dual-diagnosis treatment that

2    would simultaneously address both his mental health and substance

3    abuse issues).     Defendant’s Pretrial Services Officer has indicated

4    that she shared these views with the defendant and that defendant’s

5    counsel did not contact her about the Arizona program before filing

6    the instant Application.      Put simply, defendant can avail himself of

7    treatment while complying with the current conditions of release.

8          Thus, the Application presents no new evidence that justifies

9    modifying the conditions of defendant’s release.           The Court should

10   deny it.

11   IV.   CONCLUSION

12         For the foregoing reasons, the government respectfully requests

13   that this Court deny the Application in its entirety.

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